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                      UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF PENNSYLVANIA


DOUG ORANGE,

      Plaintiff,                             Case No. 2:16-cv-00106-NBF

v.

SCHENLEY GARDENS,
                                             JURY TRIAL DEMANDED
      Defendant.




               STIPULATION FOR DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff hereby

stipulates to the dismissal of this matter, with prejudice, so that the parties may

participate in Defendant's mandatory arbitration program, to which Plaintiff agreed as a

condition of employment with Defendant.

Dated: February 12, 2016

Respectfully submitted,

s/ Christi Wallace
Christi Wallace
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KRAEMER MANES & ASSOCIATES LLC
US Steel Tower
600 Grant Street, Suite 660
Pittsburgh, PA 15219
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SO ORDERED:


____________________________________
Honorable Nora Barry Fischer
